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United States District Court for the District of Columbia

United States of America Case No 22cr299
Petitioner,

v NOTICE OF SPECIAL APPEARANCE
Shawndale D, Chilcoat

Donald E, Chilcoat
Respondent's,

TO: CLERK OF THE ABOVE DISTRICT COURT

Comes now, two of the peaple of the State of Ohio, Shawndale D. Chilcoat and Donald E. Chilcoat, two
of the Lawful peaple of Ohio, Respondents in the matter above listed case number appears specially and
hot generally in propria persona, sui juris, and in personam, to bear witness to any trespass of the Law,
comes before this court under duress, coercion, theft and tinder threat of arrest pursuant to an affidavit in
support of Demand to Dismiss.

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indate D. t Date

 

ZL Quek Eb nk » -23-az

Donald E. Chilcoat Date

 

 

 
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United States District Court for the District of Columbia

United States of America Case No 22¢r299

Petitioner,

v Affidavits in Support of
Shawndale D, Chilcoat, Motion to Dismiss
Donald E. Chilcoat

Respondents,

Comes now, Shawndule D. Chilcoat and Donald E, Chilcoat, sui juris, in their proper persons, to
submit 2 affidavits in support of Motion to Dismiss.

 
 

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CERTIFICATE OF SERVICE

I certify that on the day of December 2022, a true and correct copy of the forgoing
was served upon:

United States District Court

For the District of Columbia Electronically Delivered
333 Constitutional Ave

NW, Washington D.C. 20001
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Case 1:22-cr-00299-CKK

Shawndale Chitcoat

3528 Bunker Hill Rd.

Celina Ohio 45822

Charges

18 USC 1512 c 2 and 2, 18 USC 1752 a 1,40 USC 5104 ¢ 2.a,40 USC 5104 e 2 d, 40 USC 5104 e 26
Mation to Dismiss

As an American Citizen of Ohio | must say | have been completely baffled by these charges. We caused
no harm or monetary damages, where is the crime? Who is the victim? In court, on August 11, 2022,
When the Judge asked the Toledo Chio Prosecutor, if there was a Victim Impact Statement she stated
*in this case The United States Government is the victim” ! am the government, how am ta victim to
Inyself? And how can an entity/corporation be a victim? it is not a human-being.

On August 11, 2022 | was lying in bed at 6:40 am when | heard a stew of vehicles pull into my drive, |
jumped out of bed and went to the door to see at least 4 FBt vehicles with guns pointed at me for having
the audacity to protest my government for what | believed and still do belteve to be a stolen election. |
was arrested, my belongings we taken and § was thrown in [ail for 4 days. A place | have never been and
never thought | would be.

Felony charges were especially shocking to me not only because we caused no harm or monetary loss
but also because for the last 2 years, | was convinced that nobody had ever been arrested because what
witnessed was a phycologica! operation. And [ assumed the operation was coming from the “good
guys’, I'm sure after 2 years of investigation it is known to the F&I that this is what | thought, talked
about it to friends often. 1 seen very tittle violence, no fires, no shootings. | have never considered that
day to be a riot. The people that I seen and myself were deeply concerned that a fraudulent election was
about to be certified.

On that day we were invited to come to Washington D.C. to attend a rally, by the President of the
United States. We listened to the Commander and Chief who said the election was stolen and he would
not concede. We walked to the capital and there were people everywhere, not beating on people or
setting fires but yes going to the doors. People were on the roofs roating us up. How did they get up
there? It looked like they were spraying tear gas but it never affected my eyes and I never ware a mask.
Before entering the bullding, t noticed a man in the window gesturing us to come in, there were many of
us cut there and nobody went to that door, so the man in the window in every-day clothes came to the
door, from the Inside and opened It up, He went back to the window fram the inside gesturing far us to
come in. That’s when people went in. Inside | believe there were four capital police. One at the top of a
stairway and 3 sparsed across a large hallway. The people were not violent we were asking to be let
through, | cannot speak for everyone but | wanted through to force congress to see me and hear me. |
wanted tham to do their job and investigate. Eventually one guy actually passed the officer and the
officer seemed to be only acting to hold him back and then everyone watked through. Me along with the
other people that were walking up the steps were singing “God Bless America” as we climbed the steps.
i have this on video. At the top of the steps the group | was with continued going straight but t, for some
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teason I don’t know why, tumed right and opened the door. | was surprised to see one man standing
inside the door to the right, as if he was guarding It, he looked back and tooked shocked to see me. tn
front of me was the “guy with the hors” Jake, sitting at the main desk in congress chamber. He
appeared to be going through papers on the desk. He looked up and also looked shocked to see me and
hurried and stood up and put his cape thing back on. I said “what they just left?” and kind of laughed
and then | sald “it's not as big as it looks on TV is it?” then a guy in plain clothes came in the room and
said something like “don't destroy this place there is a tot of history in here” and | said “we're not”
damaging things was never on our minds. t have all of this on video. There was also a man up in the
balcony taking pictures or videos of us. Then a woman who appeared to be a Trump supporter ask me
and my husband to take a picture of her with our phone because she didn’t have hers, at first, ! was like
“well how am I going to get it to you? And she said she’d give me her number and t could send it. Yes,
this was an odd request but we did it, and it was later deleted and never sent, and since we took her
picture, it made us think to take ours as well, so we did. In retrospect this seemed to be a distraction
because by the time we finished everyone in the room had left. And it was Just me, my husband, that girt
and one capitol officer in the room. | asked him “where did everyone go?” and he said “that way” and
pointed to the door. The girl had a “be quiet” sign or something like that in her hand and the officer told
her she would have to leave that. We kind of laughed and we went out the door. in the hallway, in front
of maybe 3 capital officers or workers, | sat my bookbag down, pulled my coat out, put it backon and
we walked out the bullding. | want to also state that the “guy with the horns”, | also have him on video
outside the building before going in, standing on a cement rise of some sort speaking through his
megaphone with a capital police officer guarding him. The Officer was wearing a face shield. This is the
main reason ( thought this was a “good guy” operation. Because until recently | thought he was “the guy
with the homs” was a good guy. As well as the door being apened from the inside and very little of what
appeared to be pretend resistance.

We then walked to a bench to sit down because my feet hurt and my daughter called concerned saying
“Are u ok?” and | said “yes” then she sald “a girl got shot” and { said “nobody got shot, that’s not true” {
did not hear anything, see nothing or anything that indicating someone had been shot. No bangs, no
screaming and running, no ambulance, nothing. How could my daughter have been in Celina Ohio, hear
2 girl was shot and I'm right there and nothing appears to be that way? There were no news channels
there that day, in fact the only news | seen that entire day was Epoch News without a camera, their
Jackets were the only indication of who they were. People could not go five on Facebook that day, in fact
we couldn’t even get on the internet, onty text and phone calls. How could no news channels be at this
event, and nobody could be on the internet, but my daughter in Celina Ohio hears this before 1 was
told? | was right there, how? I hung up the phone with my daughter and we walked to the Supreme
Court which is where the “ladies for trump” had said to meet after Congress. There was a list of times
and places to protest that day. After | reallzed nobody was coming, we walked back to the hotel, got in
our car and headed for home. i have no doubt this is all on camera.

I cannot and will not speak for everyone there but | will speak for myself, | have 90% of it on video and
I'm sure the government has the other 10%, if not all, on video. We caused no harm and caused no
monetary loss. For almost 2 years, | thought | witnessed a “good guy phycologtcal operation of
patriotism” that day, it wasn’t until recently t learned it was a “bad guy operation of entrapment”. The
charges against me and my husband are ridiculous. | have had my home rummaged through, my
belongings taken, embarrassed In front of my children and for my children. There isn’t any way the FB!
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did not know | was a good person and meant no harm. They Investigated me for two years and knew |
wasn’t a threat, yet they came to my door with guns painted at me, which has caused PTSD. Looking
back, | also belleve they were trying to entrap me in other ways for exemple; | had a guy in a mutual
group, from another country on FB, friend request me | accepted and he seemed to want to talk about
his country's government and my country’s government a lot. Since I never thought for one second, that
J was being Investigated t just thought he was looking for a wife in the United States and quickly deleted
and blocked him. I've had several odd things happen in the fast two years but | won't mention them
now. | would also fike to bring up the fact that there is In no way that In the last 2 years of investigating
me the FBI did not hear and watch me fighting with Kindred Hospital, Uma Ohio, about giving my
husband Narcan while in the hospital with covid. They would have also seen my proof when | was
posting pics of the med list online to get advice. Why did they not start to investigate the hospitals for
giving covid patients Narcan? 1 admit | have been very naive with this whole situation but maybe me
belng naive is what actually kept me safe. ¢ until recently 1 did not understand how much danger our
government put us in tn that day. Not only were we vuinerable to the vicious rioters that we thought
were friends. We were none the wiser, which could have made it worse. The National Guard should
have been there to protect patriotic protesters from rioters and phycological operations. Me and my
husband are the victims in this case.

t site Articfe | Section 21 of the Ohio Constitution: “Preservation of the freedom to choose health care
and health care coverage”, because | know the Obama Care Law Is what allows the people of Ohio to
have their privacy rights taken away by agencies, banks and so on. Obamacare fs another
unconstitutiona! legislative law in the State of Ohio.

My husband's lawyer asked him to tell the prosecutors “why we did what we did that day” so they could
offer us a deal, We have no interest In a deal but | would love to explain “why we did what we did that
day” with documented and undocumented evidence. It Is surprising to me that after studying the
Constitution the neither lawyer tn this case has mentioned any of them. Neither lawyer has mentioned
anything. My husband's attorney did not file a motion to have him released from home detention when
asked to do so end then was upset that he sent a certified letter to Toledo courts requesting to be. 1 also
have lack of trust in her since 3 months after being charged she still did not have his warrant and he
stated this In the certified letter to Toledo court. The lack of communication in this case ts astounding to
me. | have explained in a certified letter to the court, that was received on Nov. 4, 2022, that | do not
consent to signing 3 protection order because | know this only protects the people who are lying, not us.
We have nothing to hide. Can they say the same? The government states it Is because there are maps
on these videos and for National Security reasons, they can't show them. Why can't they blur them out?
I can't help but think they also want to contro! my evidence. | also stated in that same letter that Mr.
Klersh had harassed me again and that | felt he was trying to entrap me to sign the protection order
which goes against my best interest and that | stated in court on September 26, 2022 that ! did not trust
him and wanted another lawyer. | still, to this day have heard nothing from the court about a new
attorney, so! apologize for the way that this “Motion for Dismissal” is presented, I have not had any
tegal advice and cannot afford to hire a lawyer on my own because the government has forced my
husband's company to fire him because they have government contracts. | also have not received an
explanation as to why | received an email on September 26, 2022 stating the “Oecember 9, 2022 court
date had been cancelled” hut it afso included an invite fink for the December 9, 2022 Zoom meeting. In
fact, since September 26, 2022, ! have had no communication from the court other than a text { received
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tast Friday letting me know I'm due in court December 9, 2022. Since | am my own lawyer, and stated so
in the certified letter received an November 4, 2022, shouldn't | have received all the Information Mr.
Kiersh has? Also in this letter, | requested the court to communicate with me via US Mail and { have
recelved nothing. | had made a bar complaint on Mr. Keirsh for harassment and their response to me
was they cannot review it because they had seen that Mr. Keirsh was still my attorney. This was not
because of my doing, I stated in court September 26, 2022 t wanted a new attorney because of
competency and trust issues with Mr. Keirsh, | was told that | can have one more attorney but for the
time being Me. Keirsh would stay as my attorney because of “media contacts’. Which | have never
understood because | welcomed the media contacting me. {| do not consent to the unconstitutionafity of
this entire case. We do not consent.

Everything we did that day is Constitutionally protected | am requesting that all charges be dismissed
and for you to allow two American Citizens to get on with their lives, Christmas ls coming and my
husband would like to get back to work. Dismissal would allow this. But if not, 1 will get ready fora
public trial because unconstitutional tegistative laws should not and cannot stand. The following is
documented and undocumented evidence is to answer “why we did what we did that day’ as well as.
some concerns, Any cases that are not included with this document will have to be subpoenaed.
Unfortunately, all January 6 cases are sealed, which makes it difficult to use precedence with case law
and it also makes it hard to be sure that each and every person is being treated equally, which also
violates the Constitution. All of the following apply to this case and the human beings involved in this
case. 18 USC 241 Conspiracy Against Rights, 18 USC 371 Conspiracy to Defraud the United States, Login
Act, National Emergencies that we are currently under, Executive Order 13818 Blocking the Property of
Persons Involved in Serious Human Right and Abuse or Corruption, Executive Order 13848 Imposing
Certain Sanction in the Event of Foreign Interference in a United States Election

“How can a law be created that refutes the very foundations of our country? The government Is
composed of individuals We The People appoint. We decide by vate, whom is able to project and
represent our wants, needs and objections asa nation. In the constitution, it is written that the people
of our nation shall have the right to remove, add or overthrow any government official that is not
serving thelr purpose OR is in breach of their obligation to us.” These laws are unconstitutional. We The
People along with over 100 Congressman were demanding that the election be investigated for fraud
and we were arrogantly ignored.

/f--loGo-
Date awndale D. Chilco:
3528 Bunker Hill Rd.

Celina, Ohio 45822

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Date Notary Publi

 

HOLLY HONE
Notary Public © State of Chio
My Commission Expires:
September 30, 2027

 

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Mation to Dismiss Case 1:22-cr-00299-CKK

am filing another Motion to Dismiss due to Fraud. The court should receive my first motion to dismiss
on December 7, 2022, It was via USPS over-nighted yesterday on December 6, 2020. In my first motion
to dismiss ! explained what happened on January 6, 2021. Mr, Keirsh was aware of what happened the
day after seeking appointment. | explained to the court on September 26, 2022 that | wanted a new
attorney because | had read bad reviews about him online, and that he represented another J6
defendant that was not on the same wave tength as | was that day, atso that he reached out to me the
night before my first OC appearance and stated that he was part of a J6 panel of attorneys and that he
would like to represent me and that | accepted because | was off my game from the arrest, was under
Stress, But I never felt right about it so | wanted a new attorney. Mr. Kieirsh denied ail of this in court
and stated that he was appointed. { then stated to the court that he was not telling the truth, that when
we appeared via Zoom, Mr. Keirsh stated he was “seeking appointment” and that Judge Robin M.
Merlweather seemed confused and ask “your seeking appointment?” and then she allowed it. I stayed
and listened to the next court appearance and that mans fawyer didn’t state he was “seeking”. | stated
in my certified fetter, the court on November 4, 2022, how he harassed me again to be my attorney and
| planned to get the transcripts of the day of appointment, to prove it. I will send those as soon as} get
them, [tt never sat right with me when he called me that right to be my attorney, he sent me a blank
email and then had me reply to it “just to be sure we had the right emails”, and it atways bothered me
that his last name was misspelled (klearsh) the first time he emailed me as well. Notice on August 23,
2022 emails, | was asking if someone was going to reach out to my husband to be his attorney, as weil.

On September 26, 2022, during the court appearace, when asked why { wouldn't sign the “Potective
Order” | stated “because we did nothing wrong, so why would | need a Protective Order?” and then the
Prosecutor stated it wasn't for me it was because we were seen on several cameras and due to the
maps on the wails it would be National Security Issue. Its 2022, | have no doubt those could be blurred
out.

As previously stated Mr. Keirsh was told my story of J6 and it was long before September 26, 2022. He
knew I was confused as to why nobody was asking me about the videos that | had because, | felt they
were damaging to the governments case and helped mine. | also stated this in my certified letter
received by the court on November 4, 2022. When I told Mr. Kersh about what | had on video he stated
“ak so listen, if it comes to that at some point we might take that to the government for some kind of
deal’. And when | stated in court “I don’t need a Protective Order t did nothing wrong” I did not know at
the time, but Mr. Keirsh did and so did the Prosecutor, that this would mean the Prosecution would
control my evidence, evidence that through trial or the media would prove my innocence. But Mr.
Keirsh not anly didn’t try to stop it he harassed me several times to sign it. Mr. Kiersh was also very
undecided, one conversation he was telling me “we are going to have to Bo to the Jury and request It to
be out of DC, because | wont get a fair jury” or “listen the prosecutor might seem like shes wanting to go
light on u but the DO) is calling the shots on these cases” and then “ok so listen, if it comes to that at
some point we might take that to the government for some kind of deal”.

Jam attaching the numerous emails that Mr. Keirsh sent me trying to get me to sign the Protective
Order, before the September 26, 2022, court appearance and after he was told my story. This Is true of
my husbands attorney, as well. She knew his story and did not once tell him it might not be in his best
Interest. Mr. Keirsh even tried to intimidate by sending me an email with the Prosecutors message
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saying “The Protection Order was standard In afl J6 cases”, well maybe, but that’s not In our best
interest and our lawyers should have sald so. Mr. Kelrsh even had the audacity after saying that | was
lying In court on September 26, 2022, and after | made a Barr Complaint on him for harassment, to
contact me again on October 28, 2022 stating he is reaching out for the Federal Public Defenders to
“inquire if you still desire appointment of new counsel”, It was eerie how he would act like I didn’t just
tell him t didn’t want him as an attorney and assume he could do things. | would call him right after
Recieving another email from him and say “No | don’t want you as an attorney, | will have someone else
do it” I just coutdn’t get him to go away.

Recently, when going though emails { noticed that my first attomey Thomas Kurt in Toledo, Ohio, had
the option to appear with me my first day in DC courts, Mr. Keirsh’s phone call the night before the
court date prevented this. im confused as to why Mr. Kurt hasn’t been my attorney this entire time?
Why do we have to have attorneys outside of our state? Wouldn't attorneys from aur awn state make
more sense? If we'd been appointed Ohio attorneys they would be more familiar with cur state
constitution and we could drive to their offices and be able to expect real privacy when speaking to our

attormeys.

Mr. Keirsh was not working for me, he was working for the other side against my best interest . Ail email
correspondence are attached.

Motion for Dismissal

FRAUD, contracts, torts. Any trick or artifice employed by one person to induce another to fall into an
error, or to detain him in it, so that he may make an agreement contrary to his interest. The fraud may
consist either, first, in the misrepresentation, or, secondly, in the concealment of a material fact. Fraud,
force and vexation, are odious in law. Booth, Real Actions, 250. Fraud gives no action, however, without
damage; 3 T. R. 56; and in matters of contract it is merely a defence; it cannot In any case constitute a
new contract. 7 Vez. 211; 2 Miles’ Rep. 229. it is essentially ad hominem. 4 T. R. 337-8.

2. Fraud avoids a contract, ab initio, both at law and in equity, whether the object be to deceive the
public, or third persons, or one party endeavor thereby to cheat the other. 1 Fonb. Tr. Equity, 3d ed. 66,
note; 6th ed. 122, and notes; New!. Cont. 352; 1 Bi. R. 465; Oougl. Rep. 450; 3 Burr, Rep. 1$09; 3 V. & B.
Rep. 42; 3 Chit. Com. Law, 155, 806, 698; 1 Sch. & Lef. 209; Verp!. Contracts, passim; Domat, Lols

Civ. p.1, 2.4, t.6,s. 8, n. 2.

3. The following enumeration of frauds, for which equity will grant relief, is given by Lord Hardwicke, 2
Ves. 155. 1. Fraud, dolus malus, may be actual, arising from facts and circumstances of imposition, which
is the plainest case. 2. It may be apparent from the intrinsic nature and subject of the bargain itself; such
as no man in his senses, and not under delusion, would make on the one hand, and such as no honest
and fair man would accept on the other, which are Inequitable and unconsclentious bargains. 1 Lev. R.
111. 3. Fraud, which may be presumed from the circumstances and condition of the parties contracting.
4. Fraud, which may be collected and inferred in the consideration of a court of equity, from the nature
and circumstances of the transaction, as being an imposition and deceit on other persons, not parties to
the fraudulent agreement. 5, Fraud, in what are called catching bargains, (q. v.} with heirs, reversloners)
or expectants on the life of the parents. This last seems to fall, naturally, under one or more of the
preceding divisions.
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4. Frauds may be also divided into actual or positive and constructive frauds.

5. An actual or positive fraud is the Intentional and successful emptoyment of any cunning, deception, or
artifice, used to circumvent, cheat, or deceive another. 1 Story, Eq. Jur. §186; Dig. 4, 3, 1, 2; Id. 2, 14, 7,
9.

6. By constructive fraud is meant such a contract or act, which, though not originating in any actual evil
design or contrivance to perpetrate a positive fraud or injury upon other persons, yct, by its tendency to
deceive or mislead. them, or to violate private or public confidence, or to impair or injure the pubtic
interests, is deemed equally reprehensible with positive fraud, and, therefore, is prohibited by law, as
within the same reason and mischief as contracts and acts done malo animo. Constructive frauds are
such as are either against public policy, in violation of some special confidence or trust, or operate
substantially as a fraud upon private right's, interests, duties, or intentions of third persons; or
unconseientiously compromit, or injurtously affect, the private interests, rights or duties of the parties
themselves. 1 Story, Eq. ch. 7, §258 to 440, > Shawndale Chilcoat: Now you know.

 

Date wndale D. Chilcoat
3528 Bunker Hill Rd.
Celina, Ohio 45822
Date _ Notary Public
HOLLY HONE
Notary Pubile State cf Chio

Sty Comumitcsion Expires:
September 30, 2027

 
